     Case
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 1
      Benjamin C. Durham
 2    Nevada Bar No. 7684
      BENJAMIN DURHAM LAW FIRM
 3    601 S. 10th St.
      Las Vegas, Nevada 89101
 4    702.631.6111
 5
      Attorney for Defendant
 6
 7                             UNITED STATES DISTRICT COURT
 8
                                      DISTRICT OF NEVADA
 9
      UNITED STATES OF AMERICA,        )
10                                     )                     CASE NO: 2:16-CR-30-006
11                  Plaintiff,         )
                                       )
12    vs.                              )
                                       )
13    MARIA GUADALUPE HERNANDEZ-CORTES,)
14                                     )
                    Defendant.         )
15    ________________________________ )
16                       STIPULATION TO CONTINUE SENTENCING
17
18          IT IS HEREBY STIPULATED AND AGREED, by and between SUSAN CUSHMAN,

19    Assistant United States Attorney, counsel for Plaintiff, and BENJAMIN DURHAM, counsel
20
      for Defendant, that the sentencing currently scheduled for January 3, 2017, be vacated and
21
      continued for approximately 60 days.
22
            This Stipulation is entered into for the following reasons:
23
24          1. Defense counsel needs additional time to prepare and complete certain actions

25    related to sentencing mitigation in order to effectively represent Ms. Hernandez-Cortes
26
      before this Honorable Court at the time of sentencing.      The Defendant concurs in this
27
      request.
28
     Case
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             2. The plea agreement in this case includes a possible 2-point sentencing guideline
 1
 2    reduction for a group plea if all defendants plead guilty. One defendant is still pending trial

 3    and has not pleaded guilty. A continuance will allow additional time to determine if Ms.
 4    Hernandez-Cortes will receive the group plea reduction.
 5
             3. All parties agree to the continuance.
 6
             4. The additional time requested herein is not sought for purposes of delay.
 7
 8           5. Additionally, denial of this request for continuance could result in a miscarriage

 9    of justice.
10           6. This is the first request to continue sentencing filed herein.
11
12           DATED this 22nd day of December, 2016.
13    BENJAMIN DURHAM LAW FIRM                          DANIEL G. BOGDEN
14                                                      United States Attorney

15
             /s/ Benjamin Durham                               /s/ Susan Cushman
16    ___________________________                       _____________________________
17    BENJAMIN DURHAM                                   SUSAN CUSHMAN
      Nevada Bar No. 7684                               Assistant United States Attorney
18    601 S. 10th St.                                   333 Las Vegas Blvd So. #5000
      Las Vegas, NV 89101                               Las Vegas, Nevada 89101
19    Attorney for Defendant                            Attorney for Plaintiff
20
21
22
      ///
23
24    ///

25    ///
26
      ///
27
      ///
28
     Case
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      Attorney for Defendant
 6
 7                              UNITED STATES DISTRICT COURT
 8
                                       DISTRICT OF NEVADA
 9
      UNITED STATES OF AMERICA,        )
10                                     )                      CASE NO: 2:16-CR-30-006
11                  Plaintiff,         )
                                       )
12    vs.                              )
                                       )
13    MARIA GUADALUPE HERNANDEZ-CORTES,)
14                                     )
                    Defendant.         )
15    ________________________________ )
16
17                                       FINDINGS OF FACT

18             Based on the pending stipulation of counsel, and good cause appearing, the Court

19    finds:
20
               1. Defense counsel needs additional time to prepare and complete certain actions
21
      related to sentencing mitigation in order to effectively represent Ms. Hernandez-Cortes
22
      before this Honorable Court at the time of sentencing.       The Defendant concurs in this
23
24    request.

25             2. The plea agreement in this case includes a possible 2-point sentencing guideline
26
      reduction for a group plea if all defendants plead guilty. One defendant is still pending trial
27
      and has not pleaded guilty. A continuance will allow additional time to determine if Ms.
28
     Case
      Case2:16-cr-00030-JAD-CWH
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      Hernandez-Cortes will receive the group plea reduction.
 1
 2           3. All parties agree to the continuance.

 3           4. The additional time requested herein is not sought for purposes of delay.
 4           5. Additionally, denial of this request for continuance could result in a miscarriage
 5
      of justice.
 6
             6. This is the first request to continue sentencing filed herein.
 7
 8
             For all of the above-stated reasons, the ends of justice would best be served by a
 9
      continuance of the sentencing.
10
11
12                                     CONCLUSIONS OF LAW
13           The ends of justice served by granting said continuance outweigh the best interest of
14
      the public, since the failure to grant said continuance would be likely to result in a
15
      miscarriage of justice, would deny the parties herein sufficient time and the opportunity
16
17    within which to be able to effectively and thoroughly prepare for sentencing, taking into

18    account the exercise of due diligence.

19                                               ORDER
20
             IT IS HEREBY ORDERED that the sentencing currently scheduled for January 3,
21
      2017 be continued to _____________________,
                           February 27, 2016 at the hour of2016 at a.m.
                                                            10:00  the hour of ________ __.m.
22
23           DATED AND
                   this 27th daythis
                                 of December,
             DATED       DONE        _____ day2016.
                                               of __________________, 2016.
24
25                                              ________________________________
                                                UNITED STATES DISTRICT JUDGE
26
27
28
